        Case 1:24-cr-00233-RC          Document 19        Filed 08/16/24        Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         *
                                                 *
                     vs.                         *    Case No. 24-cr-00233-RC
                                                 *
CHRISTINA KELSO,                                 *
          Defendant                              *
                                                 *

                                              ooOoo

                    CONSENT MOTION TO CONVERT HEARING TO
                         VIRTUAL STATUS CONFERENCE

       Christina Kelso, through undersigned counsel, hereby respectfully moves this Honorable

Court to convert the change of plea hearing scheduled for August 20, 2024 to a virtual status

conference. AUSA Anthony Mariano consents to this request.

                                                      Respectfully submitted,

                                                      /s/ Carmen D. Hernandez
                                                      Carmen D. Hernandez
                                                      Bar No. MD 03366
                                                      7166 Mink Hollow Rd
                                                      Highland, MD 20777
                                                      240-472-3391
                                                      chernan7@aol.com

                                 CERTIFICATE OF SERVICE

      I hereby certify that the instant notice was served via ECF on all counsel of record this 16th
day August, 2024.



                                                      /s/ Carmen D. Hernandez
                                                      Carmen D. Hernandez
